                       Case 1:17-cr-00722-VSB                     Document 810                 Filed 06/27/23        Page 1 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case     IRUPPRGLILHGZLWKLQ'LVWULFWRQ6HSW
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                         Southern District
                                                      __________   Districtofof
                                                                              New York
                                                                                __________
                                                                                )
              UNITED STATES OF AMERICA                                          )        JUDGMENT IN A CRIMINAL CASE
                         v.                                                     )
           SAYFULLO HABIBULLAEVIC SAIPOV                                        )
                                                                                )        Case Number: 1: S1 17-cr-722-VSB-1
                                                                                )        USM Number: 79715-054
                                                                                )
                                                                                )         David Patton (212) 417-8700
                                                                                )        Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
✔ was found guilty on count(s)
G                                        1-28
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                              Offense Ended             CountV
18 U.S.C. § 1959(a)(1)            Murder in Aid of Racketeering Activity to Gain Entrance to ISIS                10/31/2017            1-8

18 U.S.C. § 1959(a)(3)            Assault with a Dangerous Weapon and Attempted Murder in Aid of                 10/31/2017            9-16
                                  Racketeering Activity to Gain Entrance to ISIS


       The defendant is sentenced as provided in pages 2 through                     8          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
   RSHQ
✔ Count(s)
G                and indictments                           G is        ✔ are dismissed on the motion of the United States.
                                                                       G
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                5/17/2023
                                                                              Date of Imposition of Judgment




                                                                              Signature of Judge




                                                                                                      Vernon S. Broderick, U.S.D.J.
                                                                              Name and Title of Judge


                                                                                                                6/27/2023
                                                                              Date
                       Case 1:17-cr-00722-VSB                  Document 810               Filed 06/27/23         Page 2 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1A
                                                                                                             Judgment—Page   2     of     8
DEFENDANT: SAYFULLO HABIBULLAEVIC SAIPOV
CASE NUMBER: 1: S1 17-cr-722-VSB-1

                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                                                       Offense Ended           CountV
18 U.S.C. § 1959(a)(5)            Attempted Murder in Aid of Racketeering Activity to Gain Entrance to    10/31/2017             17-26
                                  ISIS

18 U.S.C. § 2339B,                Provision of Material Support and Resources to a Designated             10/31/2017             27
18 U.S.C. § 2339B(a)(1)           Foreign Terrorist Organization

18 U.S.C. § 33(a),                Violence and Destruction of Motor Vehicles                              10/31/2017             28
18 U.S.C. § 34
                      Case 1:17-cr-00722-VSB               Document 810            Filed 06/27/23        Page 3 of 8
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      3       of   8
 DEFENDANT: SAYFULLO HABIBULLAEVIC SAIPOV
 CASE NUMBER: 1: S1 17-cr-722-VSB-1

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 Life imprisonment on each of Counts 1-8, to run consecutively; 20 years on each of Counts 9-16, to run consecutively; 10 years
 on each of Counts 17-26, to run consecutively; and life imprisonment on Counts 27 and 28, to run concurrently.



      G The court makes the following recommendations to the Bureau of Prisons:




      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
          G at                                   G a.m.      G p.m.         on                                              .

          G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                            .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
                       Case 1:17-cr-00722-VSB             Document 810             Filed 06/27/23         Page 4 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     4     of       8
DEFENDANT: SAYFULLO HABIBULLAEVIC SAIPOV
CASE NUMBER: 1: S1 17-cr-722-VSB-1
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 5 years on each of Counts 1-8, and counts 27 and 28, to run concurrently; 3 years on Counts 9-26, to run concurrently.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    G✔ You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                       Case 1:17-cr-00722-VSB             Document 810             Filed 06/27/23          Page 5 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                              Judgment—Page        5        of         8
DEFENDANT: SAYFULLO HABIBULLAEVIC SAIPOV
CASE NUMBER: 1: S1 17-cr-722-VSB-1

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
 After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
 You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
 You must answer truthfully the questions asked by your probation officer.
 You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
 You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours ofbecoming
    aware of a change or expected change.
 You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
 If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
 <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
                       Case 1:17-cr-00722-VSB          Document 810         Filed 06/27/23        Page 6 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                              Judgment—Page    6     of       8
DEFENDANT: SAYFULLO HABIBULLAEVIC SAIPOV
CASE NUMBER: 1: S1 17-cr-722-VSB-1

                                         SPECIAL CONDITIONS OF SUPERVISION
 Defendant must obey the immigration laws and comply with the directives of immigration authorities.

 Defendant shall submit his person, and any property, residence, vehicle, papers, computer, other electronic
 communication, data storage devices, cloud storage or media, and effects to a search by any United States Probation
 Officer, and if needed, with the assistance of any law enforcement. The search is to be conducted when there is
 reasonable suspicion concerning violation of a condition of supervision or unlawful conduct by the person being
 supervised. Failure to submit to a search may be grounds for revocation of release. Defendant shall warn any other
 occupants that the premises may be subject to searches pursuant to this condition. Any search shall be conducted at a
 reasonable time and in a reasonable manner.

 Defendant will not access any websites, chatrooms, instant messaging, or social networking sites where his criminal
 history-including this conviction-would render such access in violation of the terms of service of that website, chatroom,
 instant messaging, or social networking site.

 Defendant shall permit the U.S. Probation Office to install any application or software that allows it to survey and/or monitor
 all activity on any computer(s), automated service(s), or connected devices that defendant will use during the term of
 supervision and that can access the internet (collectively, the "Devices"), and the U.S. Probation Office is authorized to
 install such applications or software. Tampering with or circumventing the U.S. Probation Office's monitoring capabilities is
 prohibited. To ensure compliance with the computer monitoring condition, defendant must allow the probation officer to
 conduct initial and periodic unannounced examinations of any Device(s) that are subject to monitoring. Defendant must
 notify any other people who use the Device(s) that it is subject to examination pursuant to this condition. Defendant must
 provide the U.S. Probation Office advance notification of planned use of any Device(s), and will not use any Device(s)
 without approval until compatibility (i.e., software, operating system, email, web-browser) is determined and installation is
 completed. Applications for defendant's Device(s) shall be approved by the U.S. Probation Office once the Probation
 Office ensures compatibility with the surveillance/monitoring application or software. Websites, chatrooms, messaging,
 and social networking sites shall be accessed via the Device(s) web browser unless otherwise authorized. Defendant will
 not create or access any internet service provider account or other online service using someone else's account, name,
 designation or alias. Defendant will not utilize any peer-to-peer and/or file sharing applications without the prior approval of
 defendant's probation officer. The use of any Device(s) in the course of employment will be subject to monitoring or
 restriction as permitted by the employer.

 Defendant shall not associate in person, by telephone, mail, electronic mail or other electronic means, with any individual
 known to have an affiliation to any terrorist group organization.

 If Defendant is sentenced to any period of supervision, it is recommended that defendant be supervised by the district of
 residence.
                       Case 1:17-cr-00722-VSB                   Document 810           Filed 06/27/23         Page 7 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page       7    of        8
 DEFENDANT: SAYFULLO HABIBULLAEVIC SAIPOV
 CASE NUMBER: 1: S1 17-cr-722-VSB-1
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ         )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 2,800.00                $                       $ 0.00                 $                           $


 ✔ The determination of restitution is deferred until
 G                                                             8/15/2023 . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***               Restitution Ordered         Priority or Percentage




 TOTALS                               $                         0.00             $                   0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine     G restitution.
       G the interest requirement for the           G fine       G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                       Case 1:17-cr-00722-VSB                  Document 810               Filed 06/27/23            Page 8 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      8      of      8
 DEFENDANT: SAYFULLO HABIBULLAEVIC SAIPOV
 CASE NUMBER: 1: S1 17-cr-722-VSB-1

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ✔ Lump sum payment of $ 2,800.00
      G                                                         due immediately, balance due

            G     not later than                                    , or
            G     in accordance with G C,           G D,       G E, or         G F below; or
 B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
 C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
             While incarcerated, Sayfullo Saipov shall make installment payments toward his restitution and mandatory
             assessment obligations pursuant to the Bureau of Prisons Inmate Financial Responsibility Program (IFRP).




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
      (including defendant number)                         Total Amount                         Amount                          if appropriate




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
